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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:20-cv-00742-DDD-KLM

  JAMES COREY GOODE, individually
  And GOODE ENTERPRISE SOLUTIONS INC.,

  Plaintiffs,

  v.

  GAIA, INC., JAY WEIDNER, CLIF HIGH,
  BENJAMIN       ZAVODNICK,     ALYSSA
  MONTALBANO, JIRKA RYSAVY, BRAD
  WARKINS, and KIERSTEN MEDVEDICH

  Defendants.

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  Alyssa Chrystie Montalbano, Individually

  Counter-Claimant, Third-Party Plaintiff

  v.

  James Corey Goode, individually
  And GOODE ENTERPRISE SOLUTIONS INC.

  Counter-Defendants,


  LIGHT WARRIOR LEGAL FUND, LLC;
  David Wilcock, THE WILCOCK SPIRITUAL
  HEALING AND EMPOWERMENT FOUNDATION
  Valerie Yanaros Wilde, Elizabeth Lorie,
  Brian James Flynn, William Campbell,
  Matthew Grove, Diana Terry,
  Christina Gomez

  Third-Party Defendants.


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               NOTICE OF ELECTRONIC CONVENTIONAL VIDEO FILING


  COMES NOW, Alyssa Chrystie Montalbano, Defendant and Counter-Claimant, and files this

  Notice of Electronic Filing of conventional video material:



  Exhibit 1 to COUNTER-CLAIMANT ALYSSA MONTALBANO RENEWED RESPONSE AND

  OBJECTION TO PLAINTIFFS’ GOODE AND GES SECOND RENEWED MOTION TO DISMISS, of

  YouTube Video of Goode talking about using Remote View kill weapons (aka S.A.T.A.N. type

  technology) and ‘alien’ sex trafficking;



                                              Respectfully Submitted and All Rights Reserved,

                                                                /s/ Alyssa Chrystie Montalbano

                                                Alyssa Chrystie Montalbano, American Citizen
                                                                          2536 Rimrock Ave
                                                                               Suite 400-117
                                                                   Grand Junction, CO 81505
                                                          E-mail: LegalZenACM@gmail.com
                                                                 Counter-Claimant, Defendant



                                  CERTIFICATE OF SERVICE
  I certify that on this 13th day of July 2021 a copy of the foregoing NOTICE and conventional
  video Exhibit were mailed to the Clerk of the Court at Alfred A. Arraj United States Courthouse,
  Room A105, 901 19th Street, Denver, Colorado, 80294-3589; and are lawfully served upon
  appeared parties and counsels pursuant ECF Rule 4.8(f).

  /s/ Alyssa Montalbano

  Alyssa Montalbano, American Citizen




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